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UNITED sTATEs DISTRICT coURT q
soUTHERN DISTRICT oF GEORGIA LW QFP m AH l 1= 59

18 U.S.C. § 641

BRUNSWICK DIVISION
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UNITED sTATEs 0F AMERICA ) INDICTMENT NO. 59» UfS`T. OF GA.

)

v. ) 18U.s.C.§371 CR218..041

) Conspiracy '
CALEB JAMES ANDERSON )
AUSTIN ALLEN CRoss ) 18 U.s.c. § s42(a)(1)(3)
SEAN PATRICK REARDON ) Possession of Explosive Materials
KYLE PRESTON CLASBY )

)

)

Theft of Government Property

PENALTY CERTIFICATION

The undersigned Special Assistant United States Attorney hereby certifies

that the maximum penalty for the Offense charged in the Indictment is as follows:

Count 1: Conspiracy - 18 U.S.C. § 371

Not more than five years of imprisonment;

A fine of not more than $250,000;

Not more than three years of supervised release;
A $100 special assessment.

Count 2: Possession of Explosive Materials - 18 U.S.C. § 842(a)(1)(3)

Not more than ten years of imprisonment;

A fine of not more than $250,000;

Not more than three years of supervised release;
A $100 special assessment

Count 3: Theft of Government Property - 18 U.S.C. § 641

Signatures on following page

Not more than ten years of imprisonment;

A fine of not more than $250,000;

Not more than three years of supervised release;
A $100 special assessment

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Respectfully submitted,

BOBBY L. CHRISTINE
UNITED STATES A’I"I‘ORNEY

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Katelyn S ales
Special Assistant United States Attorney
NeW Hampshire Bar Number 268469

